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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

HANS MOKE NIEMANN,               )
                                 )
         Plaintiff,              )
                                 )
v.                               )                  No. 4:22-cv-01110-AGF
                                 )
SVEN MAGNUS OEN CARLSEN, et. al, )
                                 )
         Defendants.             )

                                            ORDER

       This matter is before the Court on review of the record. On October 20, 2022, Plaintiff

first brought suit against all defendants. (Doc. No. 1). He then filed his First Amended

Complaint on November 22, 2022. (Doc. No. 20). Defendants filed various motions to dismiss

shortly thereafter. See (Doc. No. 43, 46, 54, and 60). However, Plaintiff then filed his Second

Amended Complaint on January 10, 2023. (Doc. No. 75). Defendants have each filed new

motions to dismiss the Second Amended Complaint. See (Doc. No. 81, 83, 86 and 89). Those

motions are fully briefed and are now pending before the Court. Defendants’ motions to dismiss

the First Amended Complaint are therefore moot.

       Accordingly,

       IT IS HEREBY ORDERED that the Defendants’ motions to dismiss the First Amended

Complaint are DENIED as MOOT. (Doc. No. 43, 46, 54, 60).

Dated this 31st day of March, 2023.


                                                   __________________________________
                                                   AUDREY G. FLEISSIG
                                                   UNITED STATES DISTRICT JUDGE
